           Case 2:05-cr-00308-WBS Document 82 Filed 01/09/09 Page 1 of 2


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     MARY JENNIFER BERG
 7
 8
 9                      IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )     No. 2:05-CR-00308 EJG
                                     )
14                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
15        v.                         )     CONTINUING STATUS CONFERENCE
                                     )     AND EXCLUDING TIME
16   MARY JENNIFER BERG,             )
                                     )
17                  Defendant.       )     Date: January 9, 2009
                                     )     Time: 10:00 a.m.
18   _______________________________ )     Judge: Hon. Edward J. Garcia
19
20        IT IS HEREBY STIPULATED AND AGREED between defendant, Mary Jennifer
21   Berg, through her attorney, Timothy Zindel, and plaintiff, United States
22   of America, through its attorney, William S. Wong, that the status
23   conference presently scheduled for January 9, 2009, may be continued to
24   February 13, 2009, at 10:00 a.m.
25        The parties seek additional time to investigate the circumstances of
26   defendant’s involvement in the alleged offense. Accordingly, the parties
27   agree that the ends of justice to be served by a continuance outweigh the
28   best interests of the public and the defendants in a speedy trial and
              Case 2:05-cr-00308-WBS Document 82 Filed 01/09/09 Page 2 of 2


 1   that time under the Speedy Trial Act may be excluded from the date of
 2   this    order   through    February    13,   2009,   pursuant   to   18   U.S.C.   §
 3   3161(h)(8)(A) and (B)(iv)(Local Code T4).
 4                                             Respectfully submitted,
 5                                             DANIEL J. BRODERICK
                                               Federal Defender
 6
 7   Dated:     January 8, 2009                /s/ T. Zindel
                                               TIMOTHY ZINDEL
 8                                             Assistant Federal Defender
                                               Attorney for MARY JENNIFER BERG
 9
10                                             McGREGOR SCOTT
                                               United States Attorney
11
12   Dated:     January 8, 2009                /s/ T. Zindel for W. Wong
                                               WILLIAM S. WONG
13                                             Assistant U.S. Attorney
14
15                                         O R D E R
16          The status conference is continued to February 13, 2009, at 10:00
17   a.m. For the reasons set forth above, the court finds that the ends of
18   justice to be served by a continuance outweigh the best interests of the
19   public and the defendant in a speedy trial and therefore excludes time
20   through February 13, 2009, pursuant to 18 U.S.C. § 3161(h)(8)(A) and
21   (B)(iv).
22          IT IS SO ORDERED.
23
24   Dated: January 8, 2009
                                               /s/ Edward J. Garcia
25                                             HON. EDWARD J. GARCIA
                                               United States District Court Judge
26
27
28


     Stip & Order                             -2-
